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     William E. Bonham, SB# 55478
 1   Attorney at Law
     Hotel de France Bldg., Old Sacramento
 2   916 Second Street, 2nd Floor, Ste. A
     Sacramento, California 95814
 3   Telephone: (916) 557-1113
     Facsimile: (916) 557-1118
 4   Email: billbonham@mylaw.comcastbiz.net
 5   Attorney for KENYATTA ALLEN
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               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                      EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,             )       2:10-cr-00423 KJM
13                                         )
                        Plaintiff,         )       REQUEST TO SEAL DOCUMENT
14                                         )       AND ORDER
15                v.                       )
                                           )
16
     ALLEN et al,                          )
17                      Defendants.        )
18                                         )
                                           )
19
20         Pursuant to Federal Rule of Criminal Procedure 49.1 and Local Rule 141,
21
     defendant, Kenyatta Allen, by and through her attorney William E. Bonham,
22
23   moves to have filed under seal the “Waiver of Defendant’s Appearance,” filed with
24
     the Court on October 27, 2011 and re-submitted herein. The “Waiver of
25
26   Defendant’s Appearance,” contains the defendant’s home address and it is
27
     requested that the document be seal indefinitely except pursuant to a court order
28




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 1   issued upon a showing good cause to have it unsealed. A redacted “Waiver of
 2   Defendant’s Appearance” will subsequently be filed providing the public and
 3
     parties with all relevant information. The “Waiver of Defendant’s Appearance,” is
 4
 5   a two- page document that has been consecutively paginated.
 6
                                                    Respectfully submitted,
 7
 8   Dated: November 3, 2011
                                                    By: /s/ William E. Bonham for
 9
                                                    WILLIAM E. BONHAM
10                                                  Attorney for defendant
11                                                  KENYATTA ALLEN
12
13
14
                                          ORDER

15         IT IS SO ORDERED that the “Waiver of Defendant’s Appearance” be filed
16
     under seal pursuant to Federal Rule of Criminal Procedure 49.1 and Local Rule
17
18   141. Defense counsel is directed to file a redacted waiver of appearance within
19
     seven (7) days of this order.
20
21   DATED: November 4, 2011.
22
23
24                                            UNITED STATES DISTRICT JUDGE

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